Case 1:11-cr-20445-TLL-CEB ECF No. 68, PageID.235 Filed 01/17/12 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 11-20445-BC
v.                                                            Honorable Thomas L. Ludington

D-4 MITCHELL DEAN CLAPPER,

               Defendant.

__________________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION,
               ACCEPTING DEFENDANT’S GUILTY PLEA, AND TAKING
               THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on December 22, 2011, by U.S. Magistrate Judge Charles

E. Binder pursuant to the Defendant’s consent. The magistrate judge issued his report (ECF No.

62) on December 22, 2011, recommending acceptance of Defendant’s guilty plea. Either party

may serve and file written objections “[w]ithin fourteen days after being served with a copy” of

the report and recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo

determination of those portions of the report . . . to which objection is made.” Id. Where, as

here, neither party objects to the report, the district court is not obligated to independently review

the record. Thomas v. Arn, 474 U.S. 140, 149–52 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation

(ECF No. 62) is ADOPTED.
Case 1:11-cr-20445-TLL-CEB ECF No. 68, PageID.236 Filed 01/17/12 Page 2 of 2




      It is further ORDERED that the defendant’s guilty plea as to count two of the indictment

is ACCEPTED, and the Rule 11 Plea Agreement (ECF No. 60) is taken UNDER

ADVISEMENT.

                                                     s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
Dated: January 17, 2012

                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on January 17, 2012.

                                                        s/Tracy A. Jacobs
                                                        TRACY A. JACOBS




                                                        -2-
